The petitioner, in support of its contention that the award made by the Industrial Accident Commission in this case should be annulled, argues that the evidence points all one way, viz., against the conclusion arrived at by the commission, and that there is no evidence in the record upon which its award can be based. We are of the opinion, however, that there is a conflict in the circumstantial evidence upon which this award is founded; and while we feel that the commission might with propriety have reached a conclusion diametrically opposed to the one arrived at by it, and probably would have found stronger reasons in support thereof in the circumstantial evidence relied upon by the petitioner, nevertheless having made its finding upon what we conceive to be a fairly substantial conflict in such evidence, we do not see how we can interfere with the award, and for that reason the writ is dismissed and the award affirmed.